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 9                            UNITED STATES DISTRICT COURT

10                          SOUTHERN DISTRICT OF CALIFORNIA
11 UNITED STATES OF AMERICA                     No. 18CR3677-W

12            Plaintiff,                        ORDER EXCLUDING TIME UNDER
                                                THE SPEEDY TRIAL ACT
13    v.

14
   DUNCAN D. HUNTER 0)
15 MARGARET E. HUNTER, (2)
16          Defendants.

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18         The Court has read and considered the Joint Motion to Exclude Time Under the
19 Speedy Trial Act, filed by the parties in this matter on December 6, 2018. The Court hereby
20 finds that the Motion, which this Court incorporates by reference into this Order,
21 demonstrates facts that provide good cause for a finding of excludable time pursuant to the
22 Speedy Trial Act, 18 U.S.C. § 3167.
23         The Court further finds that: (i) the ends ofjustice served by the continuance outweigh
24 the best interest of the public and defendants in a speedy trial; (ii) failure to grant the
25 continuance would be likely to make a continuation of the proceeding impossible, or result
26 in a miscarriage of justice; and (iii) failure to grant the continuance would unreasonably
27 deny defendants continuity of counsel and would deny defense counsel the reasonable time
28 necessary for effective preparation, taking into account the exercise of due diligence.
 1        THEREFORE, FOR GOOD CAUSE SHOWN, the time period of December 3, 2018
 2 to September 10, 2019, inclusive, is excluded in computing the time within which the trial
 3 must commence, pursuant to 18 U.S.C. § 3161(h)(7)(A), (B)(i), and (B)(iv).
 4        Nothing in this Order shall preclude a finding that other provisions of the Speedy Trial
 5 Act dictate that additional time periods be excluded from the period within which trial must
 6 commence. Moreover, the same provisions and/or other provisions of the Speedy Trial Act
 7 may in the future authorize the exclusion of additional time periods from the period within
 8 which trial must commence.

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10 DATED:       / ;;_/ t-(tcr                            .WHELAN
11                                                    ates District Judge
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